
Graves, J.
The plaintiff in error was charged with having falsely taken upon himself to act as Moderator of School District No. One of the Township of Sheridan, and, on information against him for such offense, was convicted in the Court below. On the trial, the Prosecuting Attorney having given evidence tending to show that Hall had been Moderator of the District, and that a movement was made to remove him from the office, sought to establish the charge set forth in the information by proof that the Township Board removed him and that he thereafter assumed to act as though still in office. To show the removal from office, as claimed by the People, certain writings purporting to be the record of the proceedings of the Board in the case, were offered in evidence by the Prosecuting Attorney.
This evidence was admitted against an objection by Hall that it was irrelevant and incompetent, as the Prosecuting Attorney had already submitted evidence tending to show that Hall had been made Moderator for a term covering the time when the acts of usurpation were alleged to have occurred; it was certainly pertinent and necessary for the People to show, if they could, that his official life had been legally cut off before those acts were done, and it was to meet this requirement of the case that the proceedings of the Board for his removal were offered and admitted in evidence.
*460But the objection that these writings were incompetent was a very different one. It is certainly incontestable that they could not be used as evidence without proof of the official character of the Board or of its members. In the absence of such proof they could possess no legal value as evidence of judicial action, and it does not appear by the bill of exceptions, nor is it pretended, that any evidence was given of such official character, unless certain recitals themselves contained in the papers, should be so considered. The difficulty here noticed being observed on the argument by the Attorney General, he suggested, but without insisting upon it very strongly, that such recitals might be treated as evidence of the official character of the persons who were said to have composed the Board. But this position is certainly untenable. These writings could not be the medium of proof of a fact upon which their own validity as evidence depended.
So long as no evidence appeared, aside from the contents of the papers, to show that the writings themselves were official memorials of the doings of the proper township officers, the papers were devoid of value as instruments of evidence and plainly incompetent to prove their own authenticity. The admission, therefore, of these papers was improper.
As this objection, however, may be avoided on another trial it is necessary to notice other questions presented by the record.
It appears from the proceedings just alluded to that the complaint for the removal of Hall was in the following terms: — “ Complaint against Harvey B. Hall, Moderator of Dis. No. Two, for illegal use of public money.” It also appears that elsewhere throughout the proceedings and in the supposed judgment for Hall’s removal, the District is described as Number “One” and Hall as Moderator *461of District Number “One.” The information also, as already stated, charged Hall with falsely taking upon himself to act as Moderator of District Number “ One.”
Since the proceedings for Hall’s removal indicate no other charge against him than that of falsely taking upon himself to act as Moderator of District Number Two, it must be assumed that it was upon that charge that the Board proceeded to trial and judgment. If that course was indeed pursued, I think it was a fatal error in the proceedings.
Upon a charge against him as Moderator in one District he could not be tried as a delinquent officer in another, and thereupon convicted and ousted from office in the latter. No admissible disregard of mere forms and technical methods in such cases can justify a departure from substantial requirements, and it cannot be denied, I think, that in a proceeding to remove a man from office, the trial, and judgment of removal, if one be rendered, must relate to the same office specified in the charge or complaint. The proceeding to remove a district officer for illegally using or disposing of the public money is intended to be summary, but this circumstance furnishes no reason for disregarding the ordinary safeguards for property and reputation which the law recognizes • as needful or appropriate.
While an orderly and legal inquisition and judgment against a man upon a ground like that urged against Hall, must bear hardly against his reputation and standing in society, a mere trial cannot fail to wound his sensibilities unless he is lost to all self-respect.
Every consideration re-inforces the opinion that in such a case the law should not overlook an irregularity like that in question.—Rogers v. Jones, 5 Dowl. &amp; Ryl., 268, 272: 3 Barn. &amp; Cres., 409 s. c.
The Prosecuting Attorney endeavored to remedy the *462difficulty. He was allowed, against an objection of the defendant, to show by a witness that the complaint, as made to the Township Board, described Hall as Moderator of District Number One. I think the admission of this evidence was erroneous. It was in direct contradiction of the writings which the People had already produced in evidence as a record of the proceedings of the Board, and it was an attempt to prove by parol a fact which was required, as I think, to be perpetuated and shown by writing. If a mistake existed in the record of the proceedings, it may have been open to correction. But it was not competent for the People to introduce the record as it was, and then contradict it by parol testimony.
That the imputed action of the Board was in its nature judicial and required to be in writing, will hardly be doubted. — Meeker v. Van Rensselaer, 15 Wend. R., 397, 399; Van Wormer v. Mayor of Albany, Id., 262, 265; Fisher v. Beeker, Brayt., 75; Bridgett v. Coyney, 1 Man. &amp; Ryl., 211, 216; Rogers v. Jones, before cited. And certainly where a trial and adjudication are liable to be attended by such serious consequences, public and private, as may naturally follow a proceeding like that in question, the reasons for requiring a record are irresistible.
It was stated in argument that even if the proceedings for the removal of Hall, which were given in evidence, were incompetent to prove such removal, the plaintiff in error was nevertheless shown to have admitted his removal in a notice drawn by him in his assumed capacity of Moderator, for a special meeting. But this view cannot be maintained. If a removal by the Board, which would necessarily presuppose an adjudication, could be considered provable by an admission of the party in that way, ■ a point not now determined, still the notice itself will not bear the construction put upon it. While it implies that some *463action had been taken by the Board with a view to his removal, it also clearly implies that the validity of that action was earnestly questioned, and had not been accepted by Hall as depriving him of the office. Standing by itself, if adopted, to prove anything on the subject, it tended more strongly to prove that in fact he continued in office, than that he had been turned out.
It is impossible to read the evidence placed before the jury without concluding that Hall regarded the proceedings, whatever they were, for his removal, as ineffectual to impair his title to the office, or his right to continue to act as Moderator of the District. The case made by the People imported that when Hall performed the acts in character of Moderator, which are alleged to have been criminal, the right to the office was a subject of real controversy between Hall and other citizens on the one hand, and several of the local officers on the other; and that Hall continued to hold and officiate during the controversy instead of submitting to the supposed judgment of the Board.
I think the statute authorizing a criminal prosecution against a party for falsely taking upon himself to act or officiate in an office or place of authority, was not intended to apply to a case where a party, in good faith, and during a real controversy as to his title, continues to act in an office to which he has been chosen. He may intend the acts which he performs in the character of an officer, and his title may at the same time be bad. But if a real controversy exists in regard to it, and he holds on in good faith, he cannot be said “falsely ” to take upon himself to act or officiate in the office, nor under the statute in question can he be considered as a criminal for having continued to carry on the office.
The theory of the Judge’s charge to the jury was, *464however, that if Hall really acted as Moderator after his title to the office had been legally cnt off by the decision of the Board, whatever the circumstances tending to show a real and honest controversy as 'to the validity and binding force of that judgment, he was guilty.
This, I think, was incorrect. It is believed to be quite unnecessary to notice such of the points referred to by counsel as are not disposed of by this opinion, since they will not be likely to arise on another trial.
The judgment below must be reversed and a new trial ordered.
The other Justices concurred.
